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                        UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION


 DENNIS DONNELLY, on behalf of himself
 and all others similarly situated,
                                                  Civil Case No. 4:25-cv-150-RGE-WPK
                      Plaintiffs,

        v.

 DES MOINES REGISTER AND TRIBUNE                  NOTICE OF APPEARANCE OF
 CO., INC., J. ANN SELZER, SELZER &               MATTHEW A. MCGUIRE
 COMPANY, and GANNETT CO., INC.,

                      Defendants.


       COMES NOW Matthew A. McGuire of the firm Nyemaster Goode, P.C., of Des Moines,

Iowa and hereby enters his Appearance as an Attorney on behalf of Defendants J. Ann Selzer and

Selzer & Company in the above-captioned matter.

Dated: May 1, 2025                             Respectfully Submitted,

                                               /s/ Matthew A. McGuire              .
                                               Matthew A. McGuire, Iowa Bar No. AT0011932
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                                               Des Moines, IA 50309
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                                               ATTORNEY FOR DEFENDANTS
                                               J. ANN SELZER AND SELZER &
                                               COMPANY




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